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IN THE UNITED sTATEs nIsTRIcT coURT ‘“£m BY “”'

FoR THE wEsTERN DISTRICT oF TENNESSEE ,
wEsTERN DIvIsION os‘nn"h AH||`DS

 

UNITED STATES 0F AMERICA, ) U@OV¥¢WW
Plaintiff, §
VS~ § cR. No. 05-20163-Ma
cHARLES TATE, §
Defendant. §

 

ORDER ON CONTIN'UANCE AND SPECIF'Y'ING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on. June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from June 24, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO OR.DER.ED this talk day Of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20168 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

